                      Case 1:22-mj-00252-GMH Document 1 Filed 11/14/22 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
 David Krauss, (DOB: XXXXXXXXX)                                      )      Case No.
 Nicholas Krauss, (DOB: XXXXXXXX)                                    )
Russell Dodge, Jr., (DOB: XXXXXXXX)                                  )
                                                                     )
                                                                     )
                          Defendants


                                                   CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                                   in the
                             LQWKH'LVWULFWRI     &ROXPELD , the defendants violated:

             Code Section                                                     Offense Description

             18 U.S.C. § 1752(a)(1) - Entering and Remaining in a Restricted Building or Grounds;
             18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or
             Grounds; 40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct on Capitol Grounds;
             40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in Capitol Building.




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                       David Randolph, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                        G. Michael           Digitally signed by

Date:                                                                                   Harvey               G. Michael Harvey
                  11/14/2022
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                          G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
